USDC IN/ND case 3:23-cv-00699-CCB-SJF           document 26     filed 01/02/24    page 1 of 1


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

  NICKELS AND DIMES
  INCORPORATED,

                Plaintiff,

                       v.                          CASE NO. 3:23-CV-699-DRL-MGG

  NOAH'S ARCADE, LLC, et al.,

                Defendants.

                                          ORDER

        The Court’s Rule 16(b) Scheduling Order entered on December 5, 2023, ordered

 the parties to name a mediator by December 29, 2023. [DE 21 at 4-5]. As of this date,

 nothing has been filed to suggest that the parties have named a mediator. Therefore, the

 parties are ORDERED to file a notice of selection of a mediator instanter. If nothing is

 filed by January 12, 2024, the Court will take steps necessary to appoint a mediator.

        SO ORDERED this 2nd day of January 2024.



                                                  s/Michael G. Gotsch, Sr.
                                                  Michael G. Gotsch, Sr.
                                                  United States Magistrate Judge
